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 4   Attorney for PHAT NGUYEN
 5
                             IN THE UNITED STATES DISTRICT COURT
 6                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 7   THE UNITED STATES OF AMERICA,                 ) No. CR-S-11-190 MCE
                     Plaintiff,                    )
 8
                                                   ) REQUEST TO CONTINUE
 9          v.                                     ) BAIL REVIEW HEARING TO
                                                   ) AUGUST 18, 2014, AT 2:00 p.m.
10   NICHOLAS RAMIREZ,                             ) AND ORDER
     PHAT NGUYEN, et al.,                          )
11
                       Defendants.                 ) Judge Edmund F. Brennan
12
     ================================)

13          It is hereby stipulated between the parties, Jason Hitt, Assistant United States Attorney, and
14   Michael D. Long, attorney for defendant Phat Nguyen, that that the detention hearing date of
15
     August 13, 2014, at 2:00 p.m. should be continued until August 18, 2014, at 2:00 p.m.
16
            At the August 7, 2014, hearing before Magistrate Judge Dale A. Drozd, the parties requested
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18
     a continuance to August 13, 2014, to permit Mr. Hitt to contact Immigration and Customs

19   Enforcement (ICE) to discuss the hold placed on defendant and to learn if the hold could be lifted.

20   Mr. Hitt needs additional time to converse with ICE and he requests the continuance to August 18,
21
     2014. The defense agrees that the continuance is necessary.
22
     Dated: August 12, 2014                               Respectfully submitted,
23
                                                          /s/ Michael D. Long
24
                                                          MICHAEL D. LONG
25                                                        Attorney for Mr. Nguyen

26   ///
27
     ///
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 1   Dated: August 12, 2014                                BENJAMIN WAGNER
                                                           United States Attorney
 2

 3                                                         /s/ Jason Hitt________
                                                           JASON HITT
 4                                                         Assistant U.S. Attorney
 5

 6          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
 7   detention hearing presently set for August 13, 2014, at 2:00 p.m. is continued to August 18, 2014, at
 8   2:00 p.m. before Magistrate Judge Edmund F. Brennan.
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     Dated: August 12, 2014.
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